                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

                                                     Case No. 3:23-md-03071
                                                     MDL No. 3071

                                                     Chief Judge Waverly D. Crenshaw, Jr.
 In re: RealPage, Inc., Rental Software
 Antitrust Litigation (No. II)                       This Document Relates to:
                                                     3:23-cv-00357
                                                     3:23-cv-00378
                                                     3:23-cv-00413
                                                     3:23-cv-00742


DEFENDANT UDR, INC.’S UNOPPOSED MOTION TO EXCUSE THE APPEARANCE
   OF DAVID D. CROSS AT THE SEPTEMBER 13, 2024 STATUS CONFERENCE

       Defendant UDR, Inc. (“UDR”) respectfully moves for leave to excuse its counsel, David

D. Cross, from appearing at the September 13, 2024 status conference.

       On that date, Mr. Cross is scheduled to travel for a family commitment that he is unable

to reschedule. Should the status conference go forward, Mary G. Kaiser, Mr. Cross’s partner at

Goodwin Procter LLP and counsel of record in this matter, is available to appear in person in his

stead. In addition, Mr. Cross may be available to participate in the status conference by

telephone.

       UDR has conferred with Plaintiffs, who have indicated that they do not oppose this

Motion.




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Dated: September 3, 2024                  Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 3, 2024, a copy of the foregoing document was

electronically filed with the Clerk of Court using the CM/ECF system, which will automatically

send notification of such filing to all counsel of record.

                                                             /s/ David D. Cross
                                                             David D. Cross

                                                             Counsel for Defendant UDR, Inc.




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